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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                 *
                                                        Criminal No. RDB-14-0186
       v.                                 *             Civil Action No. RDB-19-2312

RICHARD C. BYRD,                          *

                                          *
       Defendant.

*      *       *     *      *     *   *  *    *  *                    *      *      *
                                MEMORANDUM ORDER

       The Defendant Richard C. Byrd is presently incarcerated at the Correctional Treatment

Facility (“CTF”) in Washington, D.C. serving a 26-year prison sentence. He originally

petitioned this Court for Temporary Home Detention in Light of Emergency Circumstances

as a result of the COVID-19 Pandemic. (ECF No. 538.) Subsequently, he filed an Amended

Emergency Motion for Temporary Alteration in Conditions of Confinement. (ECF No. 539.)

He has noted the outbreak of COVID-19 at CTF. The Government has filed a response

(ECF No. 540), noting that this Court lacks jurisdiction to award the requested relief. This

Court conducted a telephone conference with counsel on April 16, 2020 to immediately

address the Defendant’s motion. In light of the immediacy of the situation, this telephone

conference was not on the record.

       This Court simply does not have jurisdiction over CTF in Washington, D.C. to order

conditions of confinement. Furthermore, this Court presently lacks jurisdiction under 18

U.S.C. § 3582(c)(1)(A)(i) to order any change in the 26-year prison sentence previously

imposed. A defendant may seek a sentence reduction only after he “has fully exhausted all
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administrative rights.” 18 U.S.C. § 3582(c)(1)(A)(i); See United States v. Bobbie Johnson, Crim.

Action No. RDB-14-0441, 2020 WL 1663360 (D. Md. Apr. 3, 2020).

       ACCORDINGLY, IT IS HEREBY ORDERED this 17th day of April, 2020 that the

Motions of the Defendant (ECF Nos. 538, 539) are DENIED. This ruling in no way reflects

upon the current conditions at CTF or the pending lawsuit in the United States District Court

for the District of Columbia. See Banks, et al. v. Booth, et al., No. 1:20-CV-829 (D.D.C.

Complaint filed Mar. 30, 2020).



                                                           /s/
                                                   Richard D. Bennett
                                                   United States District Judge




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